                                          Case 4:19-cv-04980-PJH Document 182 Filed 09/09/20 Page 1 of 2




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                                  4                                  UNITED STATES DISTRICT COURT

                                  5                              NORTHERN DISTRICT OF CALIFORNIA

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                                  7      LA CLINICA DE LA RAZA, et al.,
                                                                                         Case No. 19-cv-04980-PJH
                                  8                    Plaintiffs,

                                  9             v.                                       ORDER GRANTING MOTION FOR
                                                                                         LEAVE TO FILE MOTION FOR
                                  10     DONALD J. TRUMP, et al.,                        RECONSIDERATION
                                  11                   Defendants.                       Re: Dkt. No. 179

                                  12
Northern District of California
 United States District Court




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                                  14          Before the court is plaintiffs’ motion for leave to file a motion for reconsideration.

                                  15   Dkt. 179. The motion is unopposed.

                                  16          Local Rule 7-9(a) requires that a party obtain leave of the court before filing a

                                  17   motion for reconsideration. Plaintiffs argue that, subsequent to the court’s opinion

                                  18   granting in part, denying in part, and deferring ruling on in part defendants’ motion to

                                  19   dismiss, (Dkt. 177), defendants have represented to other courts and publicly that former

                                  20   Acting Secretary of Homeland Security Kevin McAleenan, was not appointed pursuant to

                                  21   the Federal Vacancies Reform Act. Dkt. 179 at 3. Plaintiffs also contend that the

                                  22   Government Accountability Office has issued a decision that McAleenan was not properly

                                  23   appointed as Acting Secretary. Id. If true, these are sufficient reasons to grant leave to

                                  24   file a motion for reconsideration. Civ. L.R. 7-9(b). As such, the court GRANTS plaintiffs’

                                  25   motion for leave to file a motion for reconsideration.

                                  26          Plaintiffs may file their motion for reconsideration no later than September 10,

                                  27   2020. Defendants shall file their response by September 24, 2020.

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                                         Case 4:19-cv-04980-PJH Document 182 Filed 09/09/20 Page 2 of 2




                                  1    Plaintiffs may file a reply within one week of defendants’ response.

                                  2          IT IS SO ORDERED.

                                  3    Dated: September 9, 2020

                                  4                                                /s/ Phyllis J. Hamilton
                                                                                   PHYLLIS J. HAMILTON
                                  5                                                United States District Judge
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Northern District of California
 United States District Court




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